
83 So. 3d 980 (2012)
Thomas C. LAURITO, Appellant,
v.
STATE of Florida, Appellee.
No. 5D11-644.
District Court of Appeal of Florida, Fifth District.
March 23, 2012.
Thomas C. Laurito, Defuniak Springs, pro se.
Pamela Jo Bondi, Attorney General, Tallahassee, and Kristen L. Davenport, Assistant Attorney General, Daytona Beach, for Appellee.
PER CURIAM.
Although the trial court conducted an evidentiary hearing on Appellant's rule 3.850 motion, it failed to make findings of fact and conclusions of law as required by rule 3.850(d). Accordingly, we reverse and remand this cause with instructions that the trial court make the required findings. Dillbeck v. State, 882 So. 2d 969 (Fla.2004).
REVERSED and REMANDED.
MONACO, TORPY and COHEN, JJ., concur.
